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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

LEON BRIGHT,

       Plaintiff,

v.                                                             Case No: 8:20-cv-1131-T-36JSS

CITY OF TAMPA, J. LAMBERT,
CHRISTINA M. MITCHELL,
HILLSBOROUGH COUNTY, DAVID
KELSEY, HARTLINE
TRANSPORTATION
TRANSIT/REGIONAL AGENCY, JOHN
DOES, CHRISTINA BUCHANAN, JANE
DOE, OFFICER LEPOCHAT, JANE
CASTOR and BRIAN DUGAN,

       Defendants.
                                            /

                                          ORDER

       This cause comes before the Court upon the Report and Recommendation filed by

Magistrate Judge Julie S. Sneed on September 23, 2020 (Doc. 12).            In the Report and

Recommendation, Magistrate Judge Sneed recommends that: (1) Plaintiff's Motion for Leave to

Proceed in Forma Pauperis (Dkt. 10) be denied without prejudice; (2) Plaintiff's Complaint (Dkt.

1) be dismissed without prejudice and with leave to file an amended complaint that complies with

the Federal Rules of Civil Procedure within twenty (20) days of the date the Report and

Recommendation becomes final; (3) Plaintiff's Motion to Invoke Services of the United States

Marshal (Dkt. 11) be denied as moot. All parties were furnished copies of the Report and

Recommendation and were afforded the opportunity to file objections pursuant to 28 U.S.C. §

636(b)(1).

       On October 2, 2020, Plaintiff filed objections to the Magistrate Judge’s Report and

Recommendation and Motion for Clarification and Rehearing/Reconsideration and an Amended
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Complaint. See Docs. 13 and 14. The Court has undertaken a de novo review of the record in

conjunction with the objections lodged by Plaintiff and finds them to be without merit. Upon

consideration of the Report and Recommendation, Plaintiff’s Objections thereto, and upon this

Court's independent examination of the file, it is determined that the Report and Recommendation

should be adopted. Accordingly, it is now

       ORDERED AND ADJUDGED:

       (1)    Plaintiff’s Objections to the Magistrate Judge’s Report and Recommendation and

              Motion for Clarification and Rehearing/Reconsideration (Doc. 13) are

              OVERRULED and/or DENIED.

       (2)    The Report and Recommendation of the Magistrate Judge (Doc. 12) is adopted,

              confirmed, and approved in all respects and is made a part of this Order for all

              purposes, including appellate review.

       (3)    Plaintiff's Complaint (Doc. 1) is DISMISSED without prejudice.

       (4)    Plaintiff's Motion for Leave to Proceed in Forma Pauperis (Doc. 10) is DENIED,

              without prejudice.

       (5)    Plaintiff’s Motion to Invoke Services of the United States Marshal (Doc. 11) is

              DENIED, as moot.

       (6)    Plaintiff is granted leave to file a Second Amended Complaint that complies with

              the Federal Rules of Civil Procedure within twenty (20) days of the date of this

              Order, if he so chooses. If Plaintiff does not file a Second Amended Complaint

              within twenty (20) days of the date of this Order, the Amended Complaint (Doc.

              14) will be the operative complaint.




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       (7)    Additionally, Plaintiff is granted twenty (20) days from the date of this Order within

              which to file an Amended Motion for Leave to Proceed in Forma Pauperis and an

              Amended Motion to Invoke Services of the United States Marshal.

       DONE AND ORDERED at Tampa, Florida on November 6, 2020.




Copies to:
The Honorable Julie S. Sneed
Counsel of Record




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